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,;"-'<‘: -/_ » \/`;';." p'& -i-'l'
IN THE UNITED STATES DISTRICT COURT:§ j ~ f@/_ "/‘-"5~
FoR THE WESTERN DISTRICT oF TENNESSEE;, <'/@O/, ;_ §
EASTERN DIVISION 1_./§»,., /;s;»</§)
"4’;<;~. f‘/‘
ABLE CARTAGE, INC.,
Plaintiff,
v. NO. l:04-1039-T-An

STRATEGIC OUTSOURCING, INC.,

\_/\-./\\_/\_/\\_/\_/\-,/\`/\-_-/\_/

Defendant.

 

ORDER ALIENDING SCHEDULING ORDER

 

Defendant has filed a Motion to Amend the Scheduling Order previously entered by this
Court. Upon review of the Motion and Certiiicate of Consu]tation, the motion is well-taken and
should be granted lt is, therefore,

ORDERED that the deadline for the filing of dispositive motions in this case be extended
from April 22, 2005, to April 29, 2005.

IT lS SO ORDERED.

Cgf-_ /A/?W/is {AM/

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Thfs document entered on the docket sheet ln compliance
with Rule 58 and' or _79 (a) FRCP on __DL_‘L‘£S”_'Q_§'_

` Case 1:04-cv-01039-.]DT-STA Document35 Filed 04/25/05 Page 2 of3 Page|D 46

Respectfully submitted,

PENTECOST, GLENN RUDD, PLLC

 

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CERTIFICA'FE oF sERvICE

This is to certify that I have served a copy of this pleading or paper personally or by mail
upon each attorney or firm of attorneys appearing of record for each adverse party or each pro se
party on or before the filing date thereof

DATED; Th`is the fill day oprril, 2005.

PENTECOST, GLENN & D, PLLC
By:

__ ~ menard Ij-. am (#18000)
'- william B. Mauldin (#022912)
Attorneys for Able Cartage, lne.

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Honorable J ames Todd
US DISTRICT COURT

